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UNITED STATES DISTRICT COURT                            EASTERN DISTRICT OF TEXAS


BARBARA G. WRIGHT,                           §
                                             §
               Plaintiff,                    §
                                             §
versus                                       §           CIVIL ACTION NO. 1:17-CV-380
                                             §
LIBERTY MUTUAL INSURANCE                     §
and AARON BERKOWITZ,                         §
                                             §
               Defendants.                   §

                                  ORDER OF REMAND

         The parties’ Agreed Motion for Remand (#16) is GRANTED. Accordingly, Plaintiff’s

claims against Defendants are remanded to the 163rd Judicial District Court of Orange County,

Texas.

         IT. IS SO ORDERED.
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 20th day of November, 2017.




                                         ________________________________________
                                                     MARCIA A. CRONE
                                              UNITED STATES DISTRICT JUDGE
